Case 1:05-cv-01052-.]DT-STA Document 4 Filed 05/10/05 Page 1 of 11 Page|D 72
HJ_ED BY;-¢_':/__ 05

IN THE UNITED sTATEs DIsTRlCT COURT 05 my 19 FH 5.
FOR THE WESTERN DIsTRlCT oF TENNESSEE ‘ 2'*

 

EASTERN DIVISION fi§;§f§§;gr in 35 mcf lo

L¢§.,§f~fl[< _=ZJF eis D!ST cr

" "'-~" \J=` il -JP`..CKSON
l
FLOYD LEE PERRY, .TR., §
l
Petitioner, §
ll

vs. § No. 05-1052-T/An

ll
TENNEs_sEB_ DEPARTMENT oF §
CoRREcTIoNs , §
Respondent. l
l

 

ORDER GRANTING LEAVE TO PROCEED m FORMA PAUPERIS
ORDER CORRECTING THE DOCKET
ORDER OF DISMISSAL
ORDER DENYING CERTIFICATE OF APPEALABILITY
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Petitioner Floyd Lee Perry, Jr., Tennessee Department of Correetion (“TDOC”)
prisoner number 302253, an inmate at the Southeastern Tennessee State Regional
Correctional Facility (“STSRCF”) in Pil<eville, Tennessee, filed a m s_e petition pursuant
to 28 U.S.C. § 2254 on February 25, 2005, along with a motion seeking leave to proceed in

forma pauperis Based on the information set forth in the prisoner’s application, the motion

Th|e document entered on the dockets _ln compliance
with auto ss ana'or_re (a) FncP on .ibl'iQ./_QS_

Case 1:05-cv-01052-.]DT-STA Document 4 Filed 05/10/05 Page 2 of 11 Page|D 73

for leave to proceed i_n fo_rl_n_a M is GRANTED. The Clerk shall record the respondent
as STSRCF Warden Virginia Lewis.‘
I. STATE COURT PROCEDURAL HISTORY

On or about February 24, 1999, Perry was convicted following a jury trial in the
Obion County Circuit Court of first degree murder in the perpetration of a robbery,
especially aggravated robbery, and second degree murder (as a lesser-included offense of
first degree murder). The trial court conducted a sentencing hearing on or about March 26,
l 999, at which time the convictions for second degree murder and first degree felony murder
were merged and Perry Was sentenced to concurrent terms of life imprisonment with the
possibility of parole for felony murder and twenty-three (23) years for especially aggravated
robbery. The Tennessee Court of Criminal Appeals affirmed StLte_v.PLry, No. Wl999-
01715-CCA-R3-CD, 2000 WL 1671451 (Tenn. Crim. App. 0ct. 23, 2000), p,erm_.appa

denied (Tenn. May 21, 2001).

 

Perry filed a pg § petition pursuant to the then-current version of the Tennessee
Post-Conviction Procedure Act, Tenn. Code Ann. §§ 40-30-201 to -222, in the Obion
County Circuit Court on April 17, 2002. Counsel Was appointed to represent Perry, and the
postconviction court conducted an evidentiary hearing The postconviction court issued an

order denying the petition on August 23, 2002, and the Tennessee Court of Criminal

 

1 Although the petition lists the TDOC and the Tennessee Attorney General as respondents, the proper
respondent to a habeas petition is the petitioner's custodian _S_§§ Rumsfeld v. Padilla 124 S. Ct. 271 1, 2718 (2004). The
Clerk is ORDERED to remove the TDOC and the Tennessee Attorney General as parties to this action.

 

2

Case 1:05-cv-01052-.]DT-STA Document 4 Filed 05/10/05 Page 3 of 11 Page|D 74

Appeals affirmed, Pegyv. State, No. W2002-02303-CCA-R3 -PC, 2004 WL 1 153 81 (Tenn.
Crim. App. Jan. 21, 2004), perm. app. denied (Tenn. May 24, 2004).

II. PETITIONER’S FEDERAL HABEAS CLAIMS
In this federal habeas petition, Perry raises the following issues:

l. Whether he was denied the effective assistance of counsel, in violation
of the Sixth Amendment;

2. Whether he was denied the right to seek permission to appeal to the
Tennessee Supreme Court on direct appeal;

3. Whether his conviction was obtained by the unconstitutional failure of
the prosecution to disclose evidence favorable to the defense;

4. Whether the petitioner’s convictions for first degree felony murder and
second degree murder are due to the trial court’s failure to instruct the
jury on lesser offenses;

5. Whether the conviction was obtained by a violation of the prohibition
against double jeopardy, due to the fact that the same evidence was
used to convict the petitioner on the two murder counts involving a
single victim; and

6. Whether the conviction was obtained by the action of a grand or petit
jury that was unconstitutionally selected and impaneled.

III. ANALYSIS OF THE MERITS
The first issue to be considered is the timeliness of this petition. Twenty-eight U.S .C.
§ 2244(d) provides:

(1) A l-year period of limitation shall apply to an application for a writ of
habeas corpus by a person in custody pursuant to the judgment of a
State court. The limitation period shall begin to run from the latest
of-

Case 1:05-cv-01052-.]DT-STA Document 4 Filed 05/10/05 Page 4 of 11 Page|D 75

(A) the date on which the judgment became final by the conclusion
of direct review or the expiration of the time for seeking such
review;

(B) the date on which the impediment to filing an application
created by State action in violation of the Constitution or laws
of the United States is removed, if the applicant Was prevented
from filing by such State action;

(C) the date on which the constitutional right asserted was initially
recognized by the Supreme Court, if the right has been newly
recognized by the Supreme Court and made retroactively
applicable to cases on collateral review; and

(D) the date on which the factual predicate of the claim or claims
presented could have been discovered through the exercise of
due diligence

(2) The time during which a properly filed application for State post-
conviction or other collateral review with respect to the pertinent
judgment or claim is pending shall not be counted toward any period

of limitation under this subsection

Application of these provisions in this case is straightforward State

convictions ordinarily become “final” within the meaning of § 2244(d)(l)(A) at the
expiration of the time for filing a petition for a writ of certiorari from a decision of the
highest state court on direct appeal. Bronaugh v. Ohio, 235 F.3d 280, 283 (6th Cir. 2000).
The Tennessee Supreme Court denied review on May 21, 2001 and, therefore, the statute
of limitations began to run at the conclusion of the time for filing a petition for a writ of
certiorari on August 20, 2001. Although the running of the limitations period was tolled,
pursuant to 28 U.S.C. § 2244(d)(2), when Perry filed his state postconviction petition on

Apn'l 17, 2002, Per_ry v-. State, 2004 WL l 15381, at * l, by that time two hundred forty (240)

4

Case 1:05-cv-01052-.]DT-STA Document 4 Filed 05/10/05 Page 5 of 11 Page|D 76

days of the limitations period had elapsed The running of the limitations period
recommenced on September l, 2004, the expiration of the time for filing a petition for a writ
of certiorari concerning the decision of the Tennessee Court of Criminal Appeals on the

postconviction petition. Abela v. Martin, 348 F.3d 164 (6th Cir. 2003) (en banc), ce_rt.

 

denied, 124 S. Ct. 2388 (2004). Only one hundred twenty five (125) days of the limitations
period remained at the time, and the time for filing a timely § 2254 petition expired on
January 4, 2005. Perry’s petition was not received by the Clerk until February 25 , 2005 and,
even if it were deemed filed on February 23, 2005, the date on which it was executed, M
v. Collins, 305 F.3d 491, 497-98 & n. 8 (6th Cir. 2002); Towns v. United States, 190 F.3d
468, 469 (6th Cir. 1999) (§ 2255 motion), it was filed almost two months after the expiration
of the limitations period2

The one-year limitations period applicable to § 2254 motions is subject to equitable

tolling. Griffin v. Rogers, 308 F.3d 647, 652-53 (6th Cir. 2002); see also Dunlap v. United

 

m, 250 F.3d 1001, 1004 (6th Cir. 2001) (equitable tolling also applies to § 2255
motions). Five factors are relevant to determining the appropriateness of equitably tolling
a statute of limitations:

(l) the petitioner’s lack of notice of the filing requirement; (2) the petitioner’ s

lack of constructive notice of the filing requirement; (3) diligence in pursuing
one’s rights; (4) absence of prejudice to the respondent; and (5) the

 

2 Section 2244(d)(1) provides that the limitations period begins to run from the latest of the four

specified circumstances In this case, however, an examination of Perry’s claims reveals no basis for concluding that
the limitations period commenced at any time later than the date on which his conviction became final.

5

Case 1:05-cv-01052-.]DT-STA Document 4 Filed 05/10/05 Page 6 of 11 Page|D 77

petitioner’s reasonableness in remaining ignorant of the legal requirement for
filing his claim.

Dunlap, 250 F.3d at 1008.3
The Sixth Circuit has repeatedly made clear its view that “equitable tolling relief

should be granted only sparingly.” Amini, 259 F.3d at 500; see also Vroman v. Brigano, 346

 

F.3d 598, 604 (6th Cir. 2003); Jurado v. Burt, 337 F.3d 638, 642 (6th Cir. 2003).

Typically, equitable tolling applies only when a litigant’s failure to meet a
legally-mandated deadline unavoidably arose from circumstances beyond that
litigant’s control. . . . Absent compelling equitable considerations, a court
should not extend limitations by even a single day.

Graham-Humphreys v. Memphis Brooks Museum, lnc., 209 F.3d 552, 560-61 (6th Cir.

2000); see also King v. United States, 63 Fed. Appx. 793, 795 (6th Cir. Mar. 27, 2003);

 

Johnson v. U.S. Postal Serv., No. 86-2189, 1988 WL 122962 (6th Cir. Nov. 16, 1988)
(refusing to apply equitable tolling when m § litigant missed filing deadline by one day).
Thus, ignorance of the law by m g litigants does not toll the limitations period P_rige'y_.
M, 79 Fed. Appx. 110, 112 (6th Cir. Oct. 23, 2003); Harrison v. I.M.S., 56 Fed. Appx.
682, 685-86 (6th Cir. Jan. 22, 2003); Miller v. Cason, 49 Fed. Appx. 495, 497 (6th Cir. Sept.
27, 2002) (“Miller’s lack of knowledge of the law does not excuse his failure to timely file

a habeas corpus petition.”); Brown v. United States, 20 Fed. Appx. 373, 374 (6th Cir. Sept.

 

3 This five-factor standard is identical to the test used to determine whether equitable tolling is

appropriate in other contexts, including employment discrimination cases. Amini v. Oberlin College, 259 F.3d 493, 500
(6th Cir. 2001) (citing Dunlap}; Truitt v. County of Wayge, 148 F.3d 644, 648 (6th Cir. 1998}.

6

Case 1:05-cv-01052-.]DT-STA Document 4 Filed 05/10/05 Page 7 of 11 Page|D 78

21, 2001) (“Ignorance of the limitations period does not toll the limitations period.”); c_f.
M, 337 F.3d at 644-45 (lawyer’s mistake is not a proper basis for equitable tolling).4

Perry cannot satisfy his burden of demonstrating that equitable tolling would be
appropriate in this case. lt appears that Perry mistakenly assumed that the one-year period
for filing a petition pursuant to 28 U.S.C. § 2254 commences to run, in the first instance,
only after the disposition of all state-court collateral challenges to his conviction. For the
reasons previously stated, Perry’s ignorance of the law provides no basis for tolling of the
limitations period

Because it “plainly appears from the face of the petition and any exhibits annexed to
it that the petitioner is not entitled to relief in the district court,” summary dismissal prior to
service on the respondent is proper. Rule 4, Rules Governing Section 2254 Cases in the
United States District Courts. The petition is DISMISSED.
IV. APPEAL ISSUES

The Court must also determine whether to issue a certificate of appealability
(“COA”). The statute provides:

(l) Unless a circuit justice or judge issues a certificate of appealability, an
appeal may not be taken to the court of appeals from_

(A) the final order in a habeas corpus proceeding in which the
detention complained of arises out of process issued by a State

 

 

court; or
“ See also Cobas v. Burgess, 306 F.3d 441 (6th Cir. 2002) (“Since a petitioner does not have a right
to assistance of counsel on a habeas appeal . . . , and because an inmate’s lack of legal training, his poor education, or

even his illiteracy does not give a court reason to toll the statute of limitations . . . , we are loath to impose any standards
of competency on the English language translator utilized by the non-English speaking habeas petitioner.”).

j

Case 1:05-cv-01052-.]DT-STA Document 4 Filed 05/10/05 Page 8 of 11 Page|D 79

(B) the final order in a proceeding under section 2255.

(2) A certificate of appealability may issue under paragraph (1) only if the
applicant has made a substantial showing of the denial of a
constitutional right.

(3) The certificate of appealability under paragraph (1) shall indicate
which specific issue or issues satisfy the showing required by

paragraph (2).

28 U.S.C. § 2253(0); see also Fed. R. App. P. 22(b); Lyons v. Ohio Adult Parole Auth., 105

 

F.3d 1063, 1073 (6th Cir. 1997) (district judges may issue certificates ofappealabilityunder
the AEDPA). No § 2255 movant may appeal without this certificate

In Slack v. McDaniel, 529 U.S. 473, 483-84 (2000), the Supreme Court stated that
§ 2253 is a codification of the standard announced in Barefoot v. Estelle, 463 U.S. 880, 893
(1983), which requires a showing that “reasonable jurists could debate whether (or, for that
matter, agree that) the petition should have been resolved in a different manner or that the

666

issues presented were adequate to deserve encouragement to proceed further. ”’ Slack, 529

U.S. at 484 (quoting Barefoot, 463 U.S. at 893 & n.4).

 

The Supreme Court recently cautioned against undue limitations on the issuance of
certificates of appealability:

[O]ur opinion in w held that a COA does not require a showing that the
appeal will succeed Accordingly, a court of appeals should not decline the
application of a COA merely because it believes the applicant will not
demonstrate an entitlement to relief. The holding in w would mean very
little if appellate review were denied because the prisoner did not convince a
judge, or, for that matter, three judges, that he or she would prevail. It is
consistent with § 2253 that a COA will issue in some instances where there

Case 1:05-cv-01052-.]DT-STA Document 4 Filed 05/10/05 Page 9 of 11 Page|D 80

is no certainty of ultimate relief. After all, when a COA is sought, the whole
premise is that the prisoner “‘has already failed in that endeavor.”’

Miller-El v. Cockrell, 537 U.S. 322, 337 (2003) (quoting Barefoot, 463 U.S. at 893). Thus,

A prisoner seeking a COA must prove “‘sornething more than the
absence of frivolity”’ or the existence of mere “good faith” on his or her part.
. . . We do not require petitioners to prove, before the issuance of a COA, that
some jurists would grant the petition for habeas corpus. Indeed, a claim can
be debatable even though every jurist of reason might agree, after the COA
has been granted and the case has received full consideration, that petitioner
will not prevail.

 

I_d at 338 (quoting M, 463 U.S. at 893); see also § at 342 (cautioning courts against
conflating their analysis of the merits with the decision of whether to issue a COA; “The
question is the debatability of the underlying constitutional claim, not the resolution of that
debate.”).5

In this case, there can be no question that the petition is time barred and, therefore,
any appeal by this petitioner on any of the issues raised in this petition does not deserve
attention. The Court, therefore, DENIES a certificate of appealability,

The Sixth Circuit has held that the Prison Litigation Reform Act of 1995, 28 U.S.C.
§ 1915(a)-(b), does not apply to appeals of orders denying habeas petitions. Kincade v.

Sparkman, 117 F.3d 949, 951 (6th Cir. 1997). Rather, to appeal ip forma pauperis in a

 

habeas case, and thereby avoid the $255 appellate filing fee required by 28 U.S.C. §§ 1913

and 1917, the prisoner must obtain pauper status pursuant to Federal Rule of Appellate

 

5 By the same token, the Supreme Court also emphasized that “ [o]ur holding should not be misconstrued
as directing that a COA always must issue." I_d at 337. Instead, the COA requirement implements a system of
"differential treatment of those appeals deserving of attention from those that plainly do not.“ §

9

Case 1:05-cv-01052-.]DT-STA Document 4 Filed 05/10/05 Page 10 of 11 Page|D 81

Procedure 24(a). M, 117 F.3d at 952. Rule 24(a)(3) provides that if a party was
permitted to proceed ip w guam in the district court, he may also proceed on appeal
i_n _f_`_o_nM Mms, without further authorization unless the district court “certifies that the
appeal is not taken in good faith or finds that the party is not otherwise entitled to proceed
in forma pauperis.” If the district court denies pauper status, the party may file a motion to
proceed i_n m Mr_i§ and supporting affidavit in the Court of Appeals. Fed. R. App.
P. 24(a)(4)-(5).

In this case, for the same reasons the Court denies a certificate of appealability, the
Court determines that any appeal would not be taken in good faith. lt is therefore
CERTIFIED, pursuant to F ed R. App. P. 24(a), that any appeal in this matter is not taken
in good faith, and leave to appeal i_n m p_a_t_ipgi§ is DENIED. Accordingly, if petitioner
files a notice of appeal, he must also pay the full $255 appellate filing fee or file a motion

to proceed i_n_ forma pauperis and supporting affidavit in the Sixth Circuit Court of Appeals

 

within thirty (30) days.

rr rs so oiu)EREr) this 70 /day of May, 2005.

A. M‘_

JAMES D. TODD
UNITE STATES DISTRICT JUDGE

10

   

UNITED STAETS DSTRICT OURT - wEST"E DISCTRIT OF TENNSSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:05-CV-01052 was distributed by fax, mail, or direct printing on
May 12, 2005 to the parties listed

 

Floyd Lee Perry
S.T.S.R.C.F.
302253

Route 47 Box 600
Pikeville, TN 37367

Honorable .l ames Todd
US DISTRICT COURT

